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     AFFIDAVIT IN SUPPORT OF APPLICATION FOR SEARCH WARRANT

1.     I, Ryan T. McGee, a Special Agent (SA) of the Federal Bureau of Investigation
(FBI), having first been duly sworn, depose and state as follows:
2.     Your Affiant makes this Affidavit in support of an application for the issuance of a
search warrant authorizing agents and/or task force officers with the FBI to collect a DNA
sample and major case prints from NATHAN ALEX RIOS, further described in
Attachment A, for certain things particularly described in Attachment B, incorporated
herein by reference.
                             BACKGROUND OF AFFIANT

3.     Your affiant, Ryan T. McGee, is a Special Agent of the FBI and is currently assigned
to the Tucson office. In the course of his official duties over the past 11 years, your affiant
is responsible for investigating federal crimes occurring within the District of Arizona,
which include International Terrorism, Domestic Terrorism, violent crimes and Indian
Country matters. Your affiant has training and experience in investigating such crimes,
most recently the weeks-long Indian Country Criminal Investigator Training Program held
in Devils Lake, North Dakota in April 2023. That in the years your affiant has been a
Special Agent of the FBI, he has participated in many cases and has worked with numerous
other experienced investigators. Your affiant has participated in dozens of terrorism and
criminal investigations, both as an investigator and a SWAT Operator on the Phoenix FBI
SWAT Team and has produced and/or executed search and seizure warrants on virtually
any type of federal crimes the FBI investigates. As a Special Agent of the FBI investigating
violations of federal law, your affiant has the authority to request search warrants relating
to these matters.
4.     Pursuant to 18 U.S.C. § 3052, your affiant is empowered to enforce criminal laws
of the United States and to execute search warrants issued under the authority of the United
States. Pursuant to 18 U.S.C. § 3107, your affiant is empowered to make seizures under
warrant for violation of the laws of the United States.
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5.     The facts in this affidavit come from my personal observations, my training and
experience, and information obtained from other agents, officers, investigators, and
witnesses. This affidavit is intended to show merely that there is sufficient probable cause
for the requested warrant and does not set forth all of my knowledge about this matter. I
have set forth only the facts that I believe are necessary to establish probable cause to
believe that evidence of violations of Title 18, United States Code, §§ 113(a)(3) and 1153,
Assault with a Dangerous Weapon in Indian Country, is located in and on the body of
NATHAN ALEX RIOS (RIOS) and who, upon information and belief, is currently
detained at the Tohono Oodham Adult Detention Center in Sells, Arizona.
6.     Based upon my FBI training and experience investigating violent crimes involving
Deoxyribonucleic acid (DNA), it is known that DNA can be found in bodily fluids, to
include blood. It is also known that DNA can be utilized to establish the identity of
individuals by testing DNA samples, such as items collected during a search and comparing
the results to known DNA samples. Both DNA and major case prints can be used to identify
specific individuals. In this case, DNA and major case prints can be used to identify the
individuals involved and the weapon used during the Assault with a Dangerous Weapon.
7.     Accordingly, this application requests authority to search RIOS as described in
Attachment A, for evidence of this crime as described in Attachment B.
8.     This court has jurisdiction over these offenses under 18 U.S.C. §§ 113(a)(3) and
1153 because the below-described events occurred within the confines of the District of
Arizona, on the Tohono Oodham Nation Indian Reservation, Indian Country, in Pima
County, Arizona. Furthermore, this Court has jurisdiction to issue the requested warrant
under Federal Rules of Criminal Procedure, Rule 41.
                 SEARCH METHODOLOGY TO BE EMPLOYED

9.     The process of collection will be limited to the seizure of a DNA standard by use of
two (2) buccal swabs. Method of collection will be oral, that is, by inserting the buccal
swabs (2) into the mouth of RIOS for the purpose of collecting a DNA standard.
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10.    The collection of major case prints will be done by inking RIOS hands, including
his palms, fingers, fingertips, sides, and edges, and rolling them onto a standard major case
fingerprint form.
                                    PROBABLE CAUSE
11.    On January 18, 2023, at approximately 1645, RIOS and victim J. C. were riding as
passengers on board SunTran Bus #782 on Mission Road just north of Valencia. RIOS and
J. C., who knew each other, were having a discussion. At some point, this turned into an
argument. RIOS pulled a large kitchen knife off his person and slashed and stabbed J. C.
in his face with the blade on the outside of his wrist.
12.    RIOS caused two injuries to J. C.: a cut on J. C.s chin, and a ¾ inch laceration to
the left side of J. C.s face that bled profusely.
13.    RIOS then said Im gonna get the driver, twice as he approached the driver while
exiting the bus. The driver, M. B., feared for his life and exited the bus through the drivers
side door as RIOS approached him, still with the knife on his person.
14.    RIOS exited the bus and began walking west on Valencia Road, then between
houses as Tohono Oodham Police Department (TOPD) personnel responded to the
scene and approached him. In order to evade arrest, RIOS then ran to the vicinity of 6265
McCabe Drive, and was then ultimately arrested a short time later near the intersection of
Mission Road and Los Reales.
15.    The knife believed to be used to stab J. C. in the face was recovered on January 19,
2023 by TOPD personnel. A homeowner residing at 2425 W Valencia Road called TOPD
to report he found a large bloody knife in the area near McCabe Rd behind his residence,
as he was burying his deceased dog. TOPD responded to the area and recovered the knife,
which was then boxed and transferred to FBI custody on January 25, 2023.
16.    An evidentiary review of the recovered knife on March 23, 2023 showed that there
was a dry red substance on the tip of the blade.
17.    On January 19, 2023, FBI Agents met with J. C. at Banner University Medical
Center where he was recovering from his wounds. While J. C. had previously declined to
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be interviewed, he voluntarily submitted to two (2) buccal swabs of his mouth for DNA
comparison.

18.   The FBI wishes to collect evidence in the form of deoxyribonucleic acid (DNA)
and major case prints from RIOS and submit them with the recovered knife to the FBI
Laboratory as FBI personnel believe that the red substance on the knife is blood and as
such believe that DNA and latent prints are still present on the blade and handle of the
recovered knife. The FBI will also submit the DNA sample from J. C. for comparison to
the red substance found on the knife.
                                    CONCLUSION
19.   Based on the aforementioned factual information, I respectfully submit that there is
probable cause to believe that evidence described in Attachment B will support an
investigation into violations of Title 18, United States Code, §§ 113(a)(3) and 1153,
Assault with a Dangerous Weapon in Indian Country. Therefore, I respectfully request the
issuance of a Federal Search Warrant authorizing the collection of a DNA standard and
major case prints from RIOS.
20.   I swear under penalty of perjury that the foregoing is true and correct to the best of

my information and belief.


                                  Respectfully submitted,


                                  __________________________________________
                                  RYAN T. MCGEE
                                  Special Agent
                                  Federal Bureau of Investigation

Subscribed electronically and sworn to me telephonically
        1st day of May, 2023
on this __

__________________________
Honorable Eric J. Markovich
United States Magistrate Judge
District of Arizona
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                                  ATTACHMENT A

                 DESCRIPTION OF PERSON TO BE SEARCHED

The person of NATHAN ALEX RIOS, SSN: 601-XX-3466, approximately 505 tall,
approximately 160 pounds, who is currently incarcerated at the Tohono Oodham
Detention Center in Sells, Arizona.
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                         ATTACHMENT B

                      ITEMS TO BE SEIZED
 1. A DNA standard, obtained by inserting two (2) buccal swabs into the
    mouth of NATHAN ALEX RIOS, for DNA comparison.
 2. Major case prints obtained by inking and rolling the palms, fingers,
    fingertips, sides, and edges, of NATHAN ALEX RIOS hands, for latent
    print analysis.
